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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

VANESSA POPP, individually and as mother           )
and next friend of JOSEPHINE PEREZ, a              )
mmor,                                              )
                                                   )
                                Plaintiff,          )
                                                         No. 16 C 4331
                                                   )
                        v.                         )
                                                         Judge Tharp
                                                   )
VHS WEST SUBURBAN MEDICAL                          )
CENTER, INC., and UNITED STATES OF                 )
AMERICA,                                           )
                                                   )
                                Defendants.        )


                     UNITED STATES' MOTION TO DISMISS FOR
                 FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES

        The United States of America, by its attorney, Zachary T. Pardon, United States Attorney

for the Northern District of Illinois, moves to dismiss pursuant to Federal Rules of Civil

Procedure 12(b)(l) and 12(b)(6) and in support states as follows:

        1.      On or about April 2, 2014, plaintiff Vanessa Popp, individually and as mother and

next friend of Josephine Perez, a minor, commenced the above civil action against PCC

Community Wellness Center, Natasha Diaz, M.D., Tuere Coulter, M.D., and VHS West

Suburban Medical Center, Inc., alleging medical malpractice. For purposes of this lawsuit, PCC

Community Wellness Center is a private entity that receives grant money from the Public Health

Service pursuant to 42 U.S.C. § 233. In addition, Natasha Diaz, M.D. and Tuere Coulter, M.D.,

were acting within the scope of their employment at PCC Community Wellness Center with

respect to the incidents referred to in the complaint.
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        2.      On April 15, 2016, the case was removed to the United States District Court for

the Northern District of Illinois, and the United States was substituted as the federal defendant in

place of the PCC Community Wellness Center, Natasha Diaz, M.D., and Tuere Coulter, M.D.,

pursuant to 42 U.S.C. § 233.

        3.      This case is governed by 42 U.S.C. § 233, which makes the tort remedy against

the United States provided in the Federal Tort Claims Act ("FTCA"), 28 U.S.C. §§ 1346(b) and

2672, the "exclusive" jurisdictional basis for a common law tort claim against the an employee

of the Public Health Service "while acting within the scope of his office or employment." See 28

U.S.C. §§ 1346(b), 2679(b)(1); Dt{ffj; v. United States, 966 F.2d 307, 313 (7th Cir. 1992). Upon

removal, this civil action is "deemed a tort action brought against the United States under the

provisions of Title 28 and all references thereto. 42 U.S.C. § 233(c).

       4.       No FTCA action can be initiated against the United States until the plaintiff has

presented a claim to the appropriate federal agency and that agency has denied the claim or has

failed to issue a final decision within six months of the date that the claim was presented. 28

U.S.C. § 2675(a); McNeil v. United States, 508 U.S. 106 (1993); Kanar v. United States, 118

F.3d 527, 528 (7th Cir. 1997) ("No one may file suit under the Federal Tort Claims Act without

first making an administrative claim."); Erxleben v. United States, 668 F.2d 268, 270 (7th Cir.

1981 ); Best Bearings Co. v. United States, 463 F.2d 1177, 1179 (7th Cir. 1972).              This

administrative claim requirement is a prerequisite that cannot be waived. Best Bearings, 463

F.2d at 1179.

       5.       The complaint in this case does not allege that plaintiffs ever presented the

administrative claim required by the FTCA, and a search of the Department of Health and


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Human Services' computerized database of administrative tort claims reveals that plaintiff has

not tiled an administrative tort claim with the Department. Exhibit A (Declaration of Meredith

Torres); see Capitol Leasing Co. v. Fed Deposit Ins. Corp., 999 F.2d 188, 191 (7th Cir. 1993)

(noting that in a motion to dismiss the court may look beyond the jurisdictional allegations of the

complaint to determine whether subject matter jurisdiction exists).

       WHEREFORE, this case should be dismissed for failure to exhaust administrative

remedies.

                                             Respectfully submitted,

                                             ZACHARYT. FARDON
                                             United States Attorney

                                             By: s/ Jeffrey M. Hansen
                                                JEFFREY M. HANSEN
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             EXHIBIT A
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS



Vanessa Popp, Mother and Next Friend          )
of Josephine Perez, a minor,                  )
                                              )
            Plaintiff,                        )
                                              )
                         V.             )
                                        )            Case No:
VHS West Suburban Medical Center, Inc., )
Natasha Diaz, M.D.,                     )
Tuere Coulter, M.D.,                    )
and PCC Community Wellness Center,      )
                                        )
                                        )
          Defendants.                   )
_________________________ )

                                      DECLARATION OF
                                      MEREDITH TORRES

       1.     I am a Senior Attorney in the General Law Division, Office of the General Counsel,

Department of Health and Human Services       (the "Department").    I am familiar with the

official records of administrative tort claims maintained by the Department as well as with the

system by which those records are maintained.

       2.     The Department has a Claims Branch that maintains in a computerized database a

record of administrative tort claims filed with the Department, including those filed with respect

to federally supported health centers that have been deemed to be eligible for Federal Tort

Claims Act malpractice coverage.

       3.    As a consequence, if a tort claim had been filed with the Department with respect to

PCC Community Wellness Center, its approved delivery sites, or its employees or qualified

contractors, a record of that filing would be maintained in the Claims Branch's database.

       4. I caused a search of the Claims Branch's database to be conducted and found no
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record of an administrative tort claim filed by Vanessa Popp> Individually and Next Friend of

Josephine Perez> minor, or an authorized representative relating to PCC Community Wellness

Center, Tuere Coulter, M.D., and/or Natasha Diaz, M.D.

       5.   1 have also reviewed official Agency records and have determined that PCC

Community Wellness Center was deemed eligible for Federal Tort Claims Act malpractice

coverage effective January 1, 2009, and that its coverage has continued without interruption

since that time.   The Secretary of Health and Human Services' authority to deem entities as

Public Health Service employees under 42 U.S.C. § 233(g) has been delegated to the Associate

Administrator, Bureau of Primary Health Care, Health Resources and Services Administration.

Copies of the notifications by the Associate Administrator, Bureau of Primary Health Care,

Health Resources and Services Administration, Department of Health and Human Services, to

PCC Conununity Wellness Center are attached to this declaration as Exhibit 1.

       6.   Official agency records further indicate that Tuere Coulter, M.D., and Natasha Diaz,

M.D., were employees ofPCC Community Wellness Center at all times relevant to the

complaint in this case.

       I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.

       Dated at Washington, D.C., this    /•A{/1,
                                           L                 A 'L
                                                    day of _ I)(;
                                                               I
                                                                                       , 2016.




                                                     Senior Attorney
                                                     Claims and Employment Law Branch
                                                     General Law Division
                                                     Office of the General Counsel
                                                     Department of Health and Human Services
